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   1   MARK POE (Bar No. 223714)             SEAN M. REAGAN (pro hac vice)
        mpoe@gawpoe.com                      The Reagan Law Firm
   2   RANDOLPH GAW (Bar No. 223718)         sean@reaganfirm.com
   3    rgaw@gawpoe.com                      P.O. Box 79582
       SAMUEL SONG (Bar No. 245007)          Houston, Texas 77279
   4    ssong@gawpoe.com                     Telephone: 888.550.8575
       VICTOR MENG (Bar No. 254102)
   5    vmeng@gawpoe.com                     MICHAEL R. DUFOUR (SBN 290981)
   6
       GAW | POE LLP                         mrd@dufourlawfirm.com
       4 Embarcadero, Suite 1400             8675 Falmouth Ave., Suite 307
   7   San Francisco, CA 94111               Playa Del Rey, California 90293
       Telephone: (415) 766-7451             Telephone: (213) 200-9809
   8   Facsimile: (415) 737-0642             Facsimile: (424) 389-7236
   9   Counsel for the Stores                Counsel for Outlaw Laboratory, LP,
  10                                         Michael Wear and Shawn Lynch

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  12
                           UNITED STATES DISTRICT COURT

  13
                         SOUTHERN DISTRICT OF CALIFORNIA

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  15
                                               Case No. 3:18-cv-840-GPC-BGS
       IN RE OUTLAW LABORATORY, LP
  16   LITIGATION                              JOINT OPPOSITION TO
                                               TAULER SMITH’S RULE 72
  17                                           OBJECTION TO MAGISTRATE
                                               SKOMAL’S OCTOBER 14, 2020
  18                                           ORDER DENYING MOTION TO
                                               MODIFY THE CASE
  19
                                               SCHEDULE
  20
                                               Date:    Dec. 18, 2020
  21                                           Time:    1:30 p.m.
                                               Court:   2D
  22                                           Judge:   Hon. Gonzalo Curiel
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                                                             JOINT OPP. TO RULE 72 OBJ.
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   1         Roma Mikha, Inc., NMRM, Inc., and Skyline Market, Inc. (the “Stores”),
   2   hereby join with Outlaw Laboratory, Michael Wear, and Shawn Lynch (together,
   3   “Outlaw”) in opposing Tauler Smith’s “Motion Objecting to Magistrate Judge
   4   Skomal’s October 14, 2020 Order.”
   5         As noted in the Stores’ pending sanctions motion, “‘[s]anctions under section
   6   1927 are warranted when attorneys file repetitive motions or generate an
   7   extraordinary volume of paperwork in the case.’” ECF No. 301 at 20 (quoting Hartke
   8   v. Westman Prop. Mgmt., Inc., No. 3:15-CV-01901-GPC-DHB, 2016 WL 3286347,
   9   at *5 (S.D. Cal. June 14, 2016) (Curiel, J.) (citing Braunstein v. Ariz. Dept. of Transp.,
  10   683 F.3d 1177, 1189 (9th Cir. 2012)).
  11         This is another in the sequence of “repetitive motions” by Tauler Smith that
  12   have generated an “extraordinary volume of paperwork” in this case. Id.; see ECF
  13   No. 301 at 5-8 (inventorying the duplicative and frivolous motions filed up to that
  14   point). It is hard to imagine a better example of “multipl[ying] the proceedings,” 28
  15   U.S.C. § 1927, than Tauler Smith’s reflexive filing of motions for reconsideration,
  16   which necessarily turn one motion into two motions, and thereby burden not only the
  17   Court and the Stores’ and Outlaw’s counsel, but also the untold number of deserving
  18   litigants on the Court’s docket.
  19         The Stores and Outlaw wish to avoid adding to the Court’s burden with a
  20   lengthy opposition brief. Accordingly, they emphasize only the four most obvious
  21   reasons why Tauler Smith’s Rule 72 objection to Magistrate Skomal’s order should
  22   be summarily denied.
  23         First, Tauler Smith’s motion is predicated on an obvious error. It repeatedly
  24   tells the Court that Magistrate Skomal “relied on the wrong standard in refusing to
  25   modify the case schedule,” because he “conflated the [City of Pomona] standard with
  26   the excusable neglect standard.” Mem. at 1, 2, 3, 6. But Magistrate Skomal’s
  27   exceedingly thorough order did no such thing. Under the heading “Application,” the
  28   Order recites the six factors from City of Pomona v. SQM N. Am. Corp., 866 F.3d

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   1   1060, 1066 (9th Cir. 2017), and then in the next two paragraphs walks through the
   2   Court’s analysis of each, concluding in the first sentence of the ensuing paragraph
   3   that “[t]aking all these factors into account, the Court finds Tauler Smith has not
   4   established good cause to modify the Scheduling Order to reopen discovery.” ECF
   5   No. 11 at 13-14. Only then, in the remainder of that third paragraph, does the order
   6   analyze excusable neglect, but it explicitly does so following the unequivocal
   7   disclaimer that “[i]n addition, to the extent that the excusable neglect standard also
   8   applies, it is not met either.” Id. at 14 (emphasis added). No lawyer could posit in
   9   good faith that Magistrate Skomal “conflated” these standards.1
  10         Second, Tauler Smith tells the Court that Judge Skomal “relied on the wrong
  11   set of facts in concluding [that] Tauler Smith did not establish good cause.” Mem. at
  12   2, 6, 10. It complains that “Judge Skomal focused on the fact of the settlement itself
  13   in analyzing the request, rather than the nature and circumstances behind the
  14   settlement.” Mem. at 10. While not entirely clear, this argument seems to be focused
  15   on the diligence factor—i.e., to contend that rather than evaluating Tauler Smith’s
  16   diligence from the June 30 date when it learned of the settlement (or the July 7 date
  17   when it learned that Mr. Wear and Mr. Lynch had agreed to testify), diligence must
  18   be evaluated only from the September 15 date that Tauler Smith received a copy of
  19   the settlement document. Here too, the monumental obstacle is that Judge Skomal
  20   did consider that point, and squarely rejected it. Order at 12 (explaining the relative
  21   insignificance of the date on which Tauler Smith received a copy of the settlement).
  22   Moreover, Tauler Smith’s contention that it was prompted to act only upon learning
  23   “the nature and circumstances behind the settlement” is self-defeating. The whole
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  25         1
              It is irksome that Tauler Smith faults Magistrate Skomal as to the proper legal
  26   standard in the first place, given that Tauler Smith did not even mention the City of
       Pomona standard in its original motion, let alone offer argument as to its factors. See
  27   ECF No. 298-1 at 1-5. If anything, Magistrate Skomal should be commended for
       going out of his way to do Tauler Smith’s homework for it.
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                                                   2             JOINT OPP. TO MOT. TO MODIFY
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   1   point of discovery is to learn “the nature and circumstances” of certain events; a
   2   litigant hardly demonstrates diligence by waiting for the “nature and circumstances”
   3   to first become clear, and only then request discovery into them.
   4          Third—and related to the second point—Tauler Smith erroneously tells the
   5   Court that its evaluation of Judge Skomal’s orders should be de novo. Mem. at 5-6.
   6   While that is true as to strictly legal objections (of which none are presented in this
   7   motion), Judge Skomal’s factual findings (including, for example, his evaluation of
   8   Tauler Smith’s diligence) are reviewed for clear error. See Fed. R. Civ. Proc. 72(a)
   9   (allowing objections to “any part of the order that is clearly erroneous or is contrary
  10   to law.”); Lewter v. United States, No. 10-CV-2390 W (WVG), 2012 WL 13034849,
  11   at *6 n.11 (S.D. Cal. Aug. 10, 2012) (“Discovery orders . . . are generally construed
  12   as non-dispositive, and therefore subject only to review under the clear-error or
  13   contrary-to-law standards fixed by Rule 72(a).”). There is no error at all in Judge
  14   Skomal’s order, let alone any “clearly erroneous” finding.
  15          Fourth, Tauler Smith’s brief completely ignores one of the main grounds for
  16   Magistrate Skomal’s denial of the underlying motion—its failure, contrary to two
  17   successive orders—to “‘identify the specific discovery the party seeks, why it is only
  18   being sought now, and address how the discovery is relevant and proportional to the
  19   needs of the case.’” Order at 3 (quoting minute order setting the briefing schedule
  20   for the motion). Only now, in objecting to Magistrate Skomal’s denial, does Tauler
  21   Smith identify the six broad categories of document discovery that it seeks. Mem. at
  22   9-10.2 It is surely unnecessary to say, but the Court should not second-guess
  23   Magistrate Skomal’s analysis based on arguments and contentions that Tauler Smith
  24   never made to him, despite two orders requiring that content to be included in the
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         Outlaw, in particular, objects to Tauler Smith’s request for such open–ended discovery. Outlaw
  26   settled with The Stores, in part, to avoid the cost and expense of further litigation. Of course,
       discovery is one of the most expensive aspects of any litigation. Re–opening discovery without
  27   restriction would expose to Outlaw to additional and unnecessary litigation costs that Outlaw
       sought to avoid with its settlement.
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                                                        3              JOINT OPP. TO MOT. TO MODIFY
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   1   underlying motion. See Order at 2-3 (describing the May 4 and September 29 orders).
   2         Tauler Smith’s objection is baseless and should not have been filed in the first
   3   place. It should be summarily denied.
   4                                           GAW | POE LLP
   5
         Dated: November 25, 2020
   6                                           By:    s/ Mark Poe
                                                      Mark Poe
   7                                                  Counsel for the Stores
   8
   9     Dated: November 25, 2020              THE REAGAN LAW FIRM
  10                                           By: /s/ Sean M. Reagan
  11                                              Sean M. Reagan
                                                  Counsel for Outlaw, Mr. Lynch,
  12                                              Mr. Wear
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                                                  4             JOINT OPP. TO MOT. TO MODIFY
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   1                            CERTIFICATE OF SERVICE
   2                            Case No. 3:18-cv-840-GPC-BGS
   3         I HEREBY CERTIFY that on November 25, 2020, I filed the following
   4   documents with the Clerk of the Court using CM/ECF. I also certify that the
   5   foregoing document is being served this day either by Notice of Electronic Filing
   6   generated by CM/ECF or by U.S. mail on all counsel of record entitled to receive
   7   service.
   8
         JOINT OPPOSITION TO TAULER SMITH’S RULE 72 OBJECTION TO
   9     MAGISTRATE SKOMAL’S OCTOBER 14, 2020 ORDER DENYING
  10     MOTION TO MODIFY THE CASE SCHEDULE
  11
  12
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  14                                                 GAW | POE LLP
  15
  16                                                 By:
                                                           Mark Poe
  17                                                       Attorneys for the Stores
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                                                 1                            CERT. OF SERVICE
